                                                   r|i F7)                December 7, 2016
                                        f,                               Diego Mas Marques
                                        "      ^                             PO Box 560042
                                  . (
                                            JU; i 12 r.'i 10 n           Medford, MA 02156


Honorable Judge Mark L. Wolf            ; .         .
1 Courthouse Way                                                 '               > ^     j
Boston, MA02210                                                            /0\D0^
Honorable Judge Wolf,

This letter is in reference to your legal decision, dated September 22, 2015. I had written a
Motion to you on January 18, 2013 to basically request the Sealing of this foreign
conviction from Spain. I initiated this because in January of 2013 I was stopped by a
Medford State Trooper who told me the scanner on his vehicle had scanned my plate and
an FBI Alert had come up. I had no idea what he was talking about but after he ran my
license he asked me to step out of my car and walk over to the guardrail. The Trooper told
me he had to put the handcuffs on me for security reasons? I was then placed in the back
of this Troopers vehicle for over 20 minutes, while he was talking to someone on his radio.
Then this Trooper explained to me that I was all set and could go. When I stepped out of
the vehicle this State Trooper then told me that his name was Trooper Pek from the
Massachusetts State Police Barracks.

Shortly after this stop by State Trooper Pek I wrote a one page Motion requesting this
supposed FBI alert and the situation from Spain to be sealed. At that point I had not even
seen my NCIC record until I requested this record in 2015. I was shocked to see that the
charges were willful homicide and burglary.

I had the International Treaty Hearing before Judge William Callahan in February 2006 and
1mentioned to him on the record that the translation of these charges were not correct and
if it stays this way then I did not want to transfer back to the US. Judge Callahan explained
to me that this will be taken care of once I arrived back in the US. Absolutely nothing has
been updated regarding the proper translation of these charges from Spain. I even had a
conference call with Judge Callahan on the record several months ago regarding this
matter. It seems that nobody knows exactly who was or is responsible for entering this
erroneous translation of the Spanish charges into the NCIC.

For two years now I have been making every attempt to have these charges updated in
the NCIC records, with the correct translations. When I contacted the NCIC I was told I
had to contact the Southern District of New York Probation Office. When 1 contacted the
Southern District of New York Probation Office I was told that they already had the charges
on paper and requested that I contact another Federal agency. I contacted the US Parole
Commission and they requested my documents from Archives in Ohio and I don't know
what they were doing for about a year but at the end told me that they could not do
anything and sent the file back to archives? I contacted various Federal agencies
regarding this matter and always appear to get the same answer, "Its not over here that
you need to contact, you need to contact another agency" and when Ido that the other
agency basically gives the same answer. I have been on a wild goose chase with this for
two years now and nobody seems to know how to rectify the incorrect translated charges
in the NCIC.
In Spain the charge was Article 138 homicidio, which is manslaughter and not willful
homicide. The other two charges are Article 202.1 allanamiento de morada, which is
breaking and entering and not burglary. The charges entered into the NCIC were done
without any attention to detail. The actual Spanish Penal Code is online from the Ministerio
de Justicia and this deary shows exactly what the these charges are, manslaughter and
breaking and entering and not willful homicide and burglary.

Spain allows for expungement of criminal charges and not just sealing. Spain expunges
criminal records from their Justice database and then one has to go to all three police
forces, Guardia Civil, Policia Nacional and the Policia Local. I was sentenced under the
Spanish Penal Code of 1996 and for the charge of Article 138 manslaughter the
expungement takes place after 5 years of being released.

So, last October 2015, before even knowing that a legal decision had come out on my
January 2013 Motion, I had sent out over 15 pounds of documentation to Spain's Justice
Department in Madrid. Spain appears to have a better social reinsertion program for ex-
offenders, as criminal charges in Spain are not simply sealed but literally expunged from
their databases to afford ex-offenders a second charge at social reinsertion.

I was at a job interview on October 9, 2015 and the Recruiter kept asking me about a
criminal record and stated that I do not have a criminal record, as a foreign conviction is
not considered a criminal conviction in the US. I have accompanied the 4 page State
Department document that clearly explains, that a foreign conviction is not considered a
criminal record or conviction in the US, as any criminal case from outside the US is not
considered a criminal case under US Constitutional guarantees in the USA.

On October 11, 2015 I looked my name up in Google and was shocked to see that a legal
decision had been done, without any notification to me and I found out about this online.
After this I have been to a couple of more job interviews and have not been able to get a
job.

This September 22, 2015 legal decision has mistakes. I won't go through all the mistakes
in this legal decision but here are some of them: Article 183 instead of Article 138, that I
moved to Woburn when I moved from New York to Medford,l arrived to the US in 2006 and
not 2005, that I was convicted in Spain on July 17, 2000, when in fact that was the date
the jury trial started and not the conviction date. The actual conviction date was at the end
of 2002 after I exhausted my 4 appeals. Also, I filed this Motion as "Pro-Se" and I am not
an Attorney, I did not use any legal citations but this legal decision was full of legal
citations, which some were heavy hitters to respond to a person who is not even an
Attorney. I made a mistake filing this Motion as defendant, when it should have been as a
Plaintiff. Again, I am not an Attorney and never pretended to be an Attorney. I simply wrote
a simple one page Motion in which I did not use one single legal citation.

Now there have been cases of expungements in Federal Courts, especially for reasons of
employment, see United States v. Doe, 935 F. Supp. 478 (S.D.N.Y. 1996) or United States
V. Schnitzer, 567 F. 2d 536 (2d. Cir. 1977) (court has equitable authority to expunge). One
must remember that this is a foreign conviction and not a US conviction, so I don't even
believe that this type of case has even been brought before, as one cannot compare a
denial of expungement or sealing regarding of a US case, which was tried in the USA with
a foreign case that was tried in a foreign country such as Spain, without US Constitutional
guarantees. The legal citations utilized in the September 22, 2015 decision all have to do
with cases that were tried in US courts and not a foreign court.

This September 22, 2015 legal decision was somehow picked up by a third party website
called leagle.com and posted at the top of the page on Google, i contacted the supposed
owner a Shakeel Mustafa who told me that he wanted money and that his business model
does not really allow for any URL removal? When I called him back at this Palo Alto,
California number, it was disconnected and next thing I noticed is that this legal decision
was being boosted on to just about every single major Search Engine out there. I found a
new number for this Shakeel Mustafa in Round Rock, Texas and he told me that he was
the owner of leagle,lnc and not leagle.com and he proceeded to tell me, "I'm going to
fucking kill you" and hanged up. This leagle.com aka leagle.Inc, which apparently one in
the same even has a fake Twitter account showing their location as Washington, D.C. but
nobody there has any record of this website or company. There is information online at
ICANN regarding leaale.com but it shows the owner as a Donald Johnson in Little Rock,
Arkansas. This is all made up but the owner of leagle.com

The US does not have a lot of protections when it comes to citizens privacy being abused
for profit, especially by third party websites operating from outside the US where the
owners of these websites use our freedoms and laws against us and have a total
disregard for US Citizens. These website owners only care about one thing, "money" and
nothing else and they have a total disregard for Americans and the data that they upload
through most likely fraudulent means and then download on to their monetized websites.

I have have already been accused, tried and sentenced and have done my time. Please
keep an open mind regarding this situation and the effects that is having on my life. One
must remember that the Spanish Justice system does not do things in the same way as in
the US and I can tell you with certainty that there is major corruption in the Spanish judicial
system.

Your Honor, I am respectfully requesting that the URL regarding the September 22, 2016
posted by leagle.com. that I have accompanied with this letter be removed from the world
wide web, as it has and is destroying my career and reputation. At this point with this URL
on the web I cannot even find a job, employers look up people on the web before hiring.
Also, I am being harassed and threatened online and this situation is causing me serious
emotional and financial harm. I filed a complaint with the local Police Department.

I appreciate your time and consideration in this matter.

Sincerely,


Diego Mas Marques
                          CONSULATE GENERAL OF THE
                             UNITED STATES OF AMERICA



                                    Barcelona

                                                        7 de octubre de 2005
Mr. Diego Mas Marques
Apartado de Correos 1075
07120 Palma de Mailorea



Dear Mr. Mas Marques:

Further to our letter dated September 26. the International Transfer Unit has
requested that this Consulate General forward you the following documents in
order to complete your transfer application:
   o Form 1:                                                        . ^        *
       intemationai Prisoner Transfer Notification and Acknowledgement
       Form (Please sign this form)
   o   Form 2:
        Prisoner Transfer Application Questionnaire
       (Please complete this form)
   o Form 3: Information sheet on Prisoner Transfer Information for
        Americans Incarcerated Abroad
       (For your information only)
   o Form 4: information sheet on International Prisoner Transfer-Prior
       Record
       (Foryour information only)
As soon as you have the above documents completed, please send them to our
office together with your birth certificate and the new signed Privacy Act Waiver
form, authorizing us to release the information requested by the Department of
Justice. International Transfer Unit.
                                          Sincerely,


                                          David J. Mico
                                                U.S. Consul
                                                                                          TbiiH 5
                                               U.S. Department of Justice
                                                10^^ & ConstitutionAvenue, N.W.
                                                Criminal Division
                                                Office of Enforcement Operations



                                                         Interpffttmiai PrisonerTransfer Unit
                                                         Jobn C.Keeney Building, 12"> ri,»r
                                                         Kmthioftoo, D.G.   SSSiO



                                                                      Prisoner Transfer Information for
 Americans Incarcerated Abroad

         When an American is arrested abroad the arresting country is obligated to notify United States
 consular officials. Once the American Embassy or Consulate is notified, aconsular official will visit
 and interview the prisoner. However, before the American consular official can provide consular
 services he must determine whether the prisoner is aUnited States citizen. To make this
 determination, the prisoner needs to provide strong evidence ofcitizenship such as apas^ort or an
 original birth certificate. Ifconvinced that the prisoner is an American citizen, the consular official
 will prepare and send an arrest cable that states how the Embassy was notified ofthe arrest, whether
 the prisoner has consented to the release ofinformation to others and information about the nature of
 the offense. In addition, the consular official will provide the prisoner with various types of
 information including the availability ofthe international prisoner transfer program.
         The International Prisoner Transfer program, which isauthorized by federal law and
 intemational treaties, is administered by the United States Department ofJustice. An Americm
 prisoner is not eligible for transfer to the United States until he has been sentenced by the foreign
 country. Once sentencing occurs the application process can be initiated. Whether the prisoner or the
  American Embassy makes the formal transfer request to the foreign country will depend upon the
  terms of theparticular treaty governing thetransfer.
         Inaddition tothe requirement that the prisoner besentenced, there are other general
  requirements that must be satisfied before atransfer can occur. The judgment and sentence must be
 final, which means that there can be no pending appeals or collateral attacks. There also must be
 sufficient time remaining on the sentence for an application to be processed. Normally this period is 6
 months but sometimes itis ayear. Some foreign governments require the prisoner topay any fines or
 restitution that are imposed as part ofthe sentence before transfer can occur and sometimes even
 before the approval decision is made. Other treaties prohibit the transfer ofcertain t5rpes ofoffenses
  such as immigration, military andpolitical offenses.

         Aprisoner who is interested in transferring should contact the Defender Services Division of
""^e Administrative Office of the U.S. Courts to obtain advice as to whether a transfer would be an
(^appropriate option for the prisoner. Some prisoners decide not to apply for transfer after consulting
  with a federal public defender ("FPD") and learning that they will spend less time in custody ifthey
  remain in the foreign country than ifthey transfer to the United States and have their sentence
  administered according to United States sentencing provisions.

         Ifthe prisoner has questions concerning how his sentence will be administered in the
package will include the foreign senteneing documents, asummary
behavior and prisoner information, acopy ofthe travel document (proofofcitizenship)
information regarding the prisoner classification       "conduct Once ^
thev will be forwarded to the International Prisoner Transfer Unit ( IPTU )ofthe Cnmraal Division
ofthe Department ofJustice. The IPTU will review the application and
reauest Ifboth the IPTU and the foreign government approve the request, the IPTU wll^e
ZigemenXaconsentverification hearing. Atthe consentverification he^ng which is presided
over by afederal magistrate and where the prisoner is represented by aFPD, adetermination ^made
whether the prisoner understands the outcome ofthe transfer and whether he consents to Ae ^sfer.
Ifthe prisoner consents to the transfer, arrangements are made with the Federal BurrauofPnsoiK and
the foreign government to transport him back to the United States where he will be mcarcerated in a
federal prison.

       When the day for the transfer arrives, the prisoner should be prepared. He should have
disposed ofall ofhis belongings except for asmall amount ofpersonal
medications bibles, cash (preferably in amoney order denominated mdollars), family photos et .
Other than awedding band, no jewelry is permitted including watches, earnn^ and necklaces. Hair
bands cla.sps and braids will also be prohibited. Prohibited property and additional personal property
like clothing, books and appliances should be mail^ to the prisoner's home ^fore the                    '"<=
the prisoner will likely wear leg irons for the transfer, apair ofsocks for the day ofthe transfer
 advisable. The prisoner will be subject to afoil body search before transfer.
        Once the prisoner is returned to the United SUtes, the foreign sentencing documents will be
 copied and given to aUnited States Probation Officer. The probation officer will revi^ these
 documents and then visit the prisoner to collect background mformation. AAer abnefinvestigation,
 the probation officer will prepare a*>081 sentence investigation report. Ttas rcpoit which ^
 about 30-60 days to prepare, will include arecommendation as to the period ofco^nement and
 period ofsupervised release that would apply after eonsideringthe relevant United Stmes Sentencing
 Guidelines. Thereafter, the United States Parole Commission will review the case and dreide the
 length oftime the prisoner should remain in prison and the period ofsupervised release that will apply
 when the prisoner is released from prison.
        Family members and representatives can obtain additional information from two useful v^b
 sites.
 secondThe  firstDepartment
        is the    is from theofJustice
                              Department
                                       siteofState site at "http://travel.state.gov/transfer.htmr'
                                            at "www.usdoj.gov/criminal/oeo/".      Pnsoners who areand the
 applying for transfer may be represented by an attorney but need not be. The overwhelnung majority
 of applicants to the prisoner transfer program are not represented by an attorney. Because of
 limitations imposed by the Privacy Act, 5U.S.C. §552a, the Department ofJu^ce cannot provide
 information about individual prisoner transfer cases without asigned waiver ofconfidentiality from
 the prisoner. This law applies whether the inquiring party is the prisoner's Congressman or family
 member. Asample Privacy Act waiver form can be found at the Department ofJustice website.
                                                    BOOK 11



                                          Felonies and ttieir penalties


                                                     TITLE I




                                        On unlawful killing and Its forms




Article 138

         kills anomershall convicted of manslaughter, punishable««,asentence ofimpiisonnientlromtentolrfteenyeara.
Whoever I



Article 139


Whoever kills another when any of the following circumstances concur shall be convicted of murder and punished
witti a sentence of imprisonment from fifteen to twenty years;

1. V\fith premeditation;

2. For a price, reward or promise;

3. With wanton cruelty, deliberately and inhumanely increasing the victim s suffering.

Article 140


When more than one of the circumstances foreseen in the preceding Article concur in a murder, a sentence of
imprisonment shall be from tv/enty to twenty- five years.


Article 141


Provocation conspiracy and solicitation to commit the offences foreseen in the preceding three Articles shall be
punished with the penalty 1ower fay one or hvo degrees to that stated as appropriate in the preceding Articles.

Article 142


1. Whoever causes the death of another by serious negligence shall be convicted of manslaughter and punished
with a sentence of imprisonment of one to four years.

2. When the manslaughter iscommitted using a motor vehicle, a moped or afirearm, the punishment shall also, and
 respectively, include deprivation of the right to drive motor vehicles and mopeds or deprivation of the right to own
and cairy weapons from one to six years.

 3. When the manslaughter is committed due to professional negligence, the punishment of special barring from
 exercise ofthe profession, trade or cargo shall also be imposed, for a period of three toax years.

 Article 143


 1.Whoever induces another to suicide shall be punished with a sentenceofimprisonment from four to eight years.
Article 198


The authority or public officer who. outside the cases permitted by Law. withoutthere being alegal cause due to an
offence having being committed, and availing himself of his office, acts many of the manners described in the
preceding Article, shall be punished with the penalties respectively foreseen therein, in the upper half and also with
that of absolute barring for a term fromsix to twelveyears.


Article 199


1 Whoever discloses secrets of others that he obtains knowledge whereof through his frade or labour
relations, shall be punished with asentence of imprisonment from one to three years and afine from six to
tv/elve months.


2. Professionals who, in breach of their obligation of secrecy or reserve, reveal secrets of another person shall be
punished with asentence of imprisonment of one to four years, afine oftwelve to tv/enty- four months and special
barring from thatprofession for a term from two tosix years.


Article 200


The terms set forth this Chapter shall be applicable to whoever, discloses, reveals or communicates reserved
data of legal persons without the consent of their representatives, except for what is set forth in other provisions
of this Code.




 Article 201


 1. Prosecution of offences foreseen in this Chapter requires areport by the victim or his legal representative. When
 the former is a minor, incapacitated or handicapped person, it may also be reported by the Public Prosecutor.
 2. The report required in the preceding Section shall not be necessary to prosecute the acts described mArticle 198
 of this Code nor when the offence committed affects general interests or persons atlarge.
 3. Forgiveness by the victim or his legal representative, as appropriate, extinguishes the penal action without
 prejudice to v/hat is set forth in Paragraph Two of Sub-Section 5of Section 1of Article 130.

                                                     CHAPTER II




  On trespassing adwelling,the registered address of legal persons andestabllshments open to the public

 Article 202


 1 The individual v/ho, without being resident therein, enters the dv/elling of another, or were to remain therein
 against the v/ill of its dv/eller, shall be punished with a sentence of Imprisonment of six months to two years.
 2. Should the act be perpetrated with violence or intimidation, the punishment shall be imprisonment from one to
 four years and a fine from six to twelve monttts.


 Article 203


 1 Whoever enters the domicile of apublic or private legal person, professional firm or ofTice, atrading establishment
 or premises open the public after opening hours against the will of its owner shall be punished with impnsonment of
 six monftts to one year and a fine from sixto ten months.
U.S. V. MasMARQUES | No. 09-10304-MLW. | By MARK L. WOLF | Leagle.com                                          06/12/16 12:27




   This Is Google's cache of
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   The current page could have changed In the meantime. Leam more
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    U.S. V. MasMARQUES

    No. 09-10304-MLW.                                                                     Email I Print ! Comments (0)


    UNITED STATES OF AMERICA v. DIEGO MASMARQUES, Defendant


    United States District Court, D. Massachusetts.

   September 22, 2015.


     View Case       Cited Cases      Citing Case


    MEMORANDUM AND ORDER


   MARK L. WOLF, DistrictJudge.

    Defendant Dieeo MasMaraues has filed a Motion to Seal, askine the court to seal the record of this case
U.S. V. MasMARQUES | No. 09-10304-MLW. | Leagle.com                                               06/12/16 12:30




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    U.S. V. MasMARQUES

    No. 09-10304-MLW.                                                       Email j Print I Comments (2)


    UNITED STATES OF AMERICA v. DIEGO MASMAEQUES, Defendant


    United States District Court, D. Massachusetts.

   September 22, 2015.


     View Case       Cited Cases      Citing Case


    MEMORANDUM AND ORDER


   MARK L. WOLF, District Judge.

   Defendant Diego MasMarques has filed a Motion to Seal, asking the court to seal the record of this case
   on the PACER system and to remove the record from the Federal Bureau of Investigation's ("FBI")
   National Criminal Information Center ("NCIC") database (the "Motion"). The Motion is being denied for
   the reasons explained below.

    I. BACKGROUND
U.S. V. MasMARQUES | No. 09-10304-MLW. | Leagle.com                                                     06/12/16 12:30




    On July 17, 2000, MasMarques, who Is an American citizen, was convicted of two counts of burglary and
    one count of willful homicide in Spain. The Spanish court sentenced him to one year in prison on the first
    burglary count, two years in prison on the second burglary count, and twelve years in prison on the
    homicide count. In 2005, pursuant to a Transfer Treaty, he was transferred to the United States to serve
    the remainder of his sentence.


    Prior to his transfer to the United States, MasMarques signed a form consenting to serve the remainder of
    his sentence according to the laws of the United States. By signing the form, he agreed that his
    "conviction or sentence can only be modified or set aside through appropriate proceedings brought by me
    or on my behalf in Spain." See Feb. 13, 2006 Verification of Consent to Transfer (Docket No. 1-4).

    MasMarques's case was initially assigned to the Eastern District of Wisconsin for performance of the
    verification proceedings required by 18 U.S.C. §4108. On August 20, 2008, MasMarques was released to a
    three-year term of supervised release in the Southern District of New York. On June 2, 2009, with the
    permission of the Probation Office, MasMarques moved to Wobum, Massachusetts. As a result, his case
    was transferred to this court for supervision during the remainder of his period of supervised release. See
    18 U.S.C. §4l06A(b)(3).

    On January 18, 2013, MasMarques, acting pro se, filed a motion requesting that the court seal the record
    of his conviction in Spain. In addition, he requests that the court remove a negative "alert" that appears
    in the FBI's NCIC database. He claims that the availability of his criminal record has harmed his ability to
    find a job. He maintains that allowing this criminal record to be publicly accessible violates his rights
    under the Double Jeopardy Clause.

    II. DISCUSSION


   MasMarques's Motion to Seal presents four issues: (1) whether public availability of his criminal record
   constitutes a second punishment in violation of the Double Jeopardy Clause of the Fifth Amendment; (2)
   whether the court should seal the record of his conviction; (3) whether the court has authority to order
   the removal of the negative "alert" based on his case that appears in the FBI's NCIC database; and (4)
   whether the court has authority to expunge MasMarques's criminal record.

   MasMarques is proceeding pro se. Therefore, his motion will be construed liberally. See Erickson v.
   Pardus, 551 U.S. 89, 94 (2007). Nevertheless, there is no legal basis to grant the relief that he requests.
    Therefore, his Motion is being denied.

    A. Double Jeopardy


   The Double Jeopardy Clause "safeguards an individual against (1) a second prosecution for the same
   offense, following an acquittal; (2) a second prosecution for the same offense, following a conviction; and
   (3) multiple punishments for the same offense." United States v. Stoller, 78 F.^d 710, 714 (ist Cir. 1996)
   (quoting United States v. Rivera-Martinez, 931 F.3d 148, 152 (1st Cir.), cert, denied, 502 U.S. 862 (1991)).
   "The Clause protects only against the imposition of multiple criminal punishments for the same offense .
   . . and then only when such occurs in successive proceedings." Hudson v. United States, ^22 U.S.         99
   (1997) (emphasis in original). In determining whether a government action is "punishment" for
   purposes of the Double Jeopardy Clause, courts examine the totality of the circumstances to determine
   whether its objectives or effects are "punitive" in nature. See Stoller, 78 F.3d at 721.

   The public availability of the records of MasMarques's conviction under the PACER, CORI, and NCIS
U.S. V. MasMARQUES t No. 09-10304-MLW. | Leagle.com                                                        06/12/16 12:30


    system is not a "punisnment" in violation oi tne uouDie jeoparay Clause, many couns nave recogmzea
    that "[t]he dissemination of accurate public record information concerning an individual's past criminal
    activities holds "the potential for substantial negative consequences." E.B. v. Verniero, iiQ F.^d 1077,1099
    (3d Cir. 1997). "Nevertheless, our laws' insistence that information regarding criminal proceedings be
    publicly disseminated is not intended as punishment and has never been regarded as such." Id. at 1100.
    The purpose of these systems is "regulatory," and they, therefore, are "not punishment even though it
    may bear harshly on one affected." Doe v. Pataki, 120 F.^d 126^, 1279 (2d Cir. 1997) (quoting Flemming v.
    Nestor, ^62 U.S. 60^, 613 (i960). Furthermore, the negative effects of publicly disseminating criminal
    records do not "implicate any interest of fundamental constitutional magnitude." See Verniero, 119 F.3d
    at 1103. Therefore, the avaUability of the PACER records, the NCIC alerts, and the resulting negative
    effects do not constitute a second punishment in violation of the Double Jeopardy Clause.

    B. Sealing MasMarques's Court Records

   In the United States, there is a common law presumption of public access to judicial records. See Nixon v.
   Warner Commc'ns, Inc.,          U.S. s8q. 597 (1978); United States v. Kravetz, 706 F.2d Li, 62 (ist Cir. 2013).
   This presumption "stems from the premise that public monitoring of the judicial system fosters the
   important values of Equality, honesty and respect for our legal system.'" Siedle v. Putnam Investments,
   Inc., 147 F.^d 7, 9-10 (1st Cir. 1998). Furthermore, Congress has recognized a "compelling public need" to
   keep criminal records publicly available. United States v. Schnitzer, ^67 F.2d ^26, 539 (2d Cir. 1977)- When
   evaluating a motion to seal a court record, the court "carefully balances the competing interests that are
   at stake in the particular case." Siedle, 147 F.3d at 10.

   MasMarques contends that it is unfair to allow the record of his case to be publicly accessible through the
   court's PACER system because public availability of the record has made it difficult for him to find a job.
   If courts were to allow the stigma resulting from the public record of a case to outweigh the public right
   of access, then virtually all criminal records would be sealed. The balance might lean more in
   MasMarques's favor if he had been acquitted or exonerated of the charges in Spain. See Diamond v.
   United States, 6lq F.2d z.q6. 499 (7th Cir. 1981). However, the presumptive public right of access to court
   records is not outweighed solely because the record has an adverse effect on the defendant's livelihood,
   as such rule would vitiate the presumptive public right of access. Indeed, "courts must be reluctant to
   substitute their judgment for that of employers, legislators, and others in whom the discretion to give
   second chances is more properly vested." United States v. Barrow, o6-Cr-io86(JFK), 2014 WL 20U689, at
   *2. Consequently, the court is denying MasMarques's request to seal the record of this case.

    C. Removing the "Alert" from the NCIC Database

    28 U.S.C. §534 directs the Attorney General to maintain a criminal records database. MasMarques
    complains that his criminal record is accessible in this database. However, courts are without authority to
   order removal of a criminal record from the NCIC database. See Carter v. United States, 431 Fed. Appx.
   104, 105-06 (3d Cir. 2011); United States v. Lucido, 612 F.2d S7i, 875 (6th Cir. 2010). Therefore, the court
   must deny MasMarques's request.

    D. Expunging MasMarques's Criminal Record


   MasMarques also appears to request that the court expunge the American court records of his convictions
   in Spain. However, federal courts lack subject matter jurisdiction to expunge criminal records based
   solely on "equitable reasons," meaning "grounds that rely only on notions of fairness and are entirely
   divorced from legal considerations." United States v. Coloian, A80 F.2d A7, 52 (1st Cir. 2009). MasMarques
U.S. V. MasMARQUES I No. 09-10304-MLW. i Leagle.coin                                                      06/12/1612:30



    provides no legal basis to expunge his record. The court does not have jurisdiction to expunge his record
    on these grounds. See id.

    III. ORDER


    In view of the foregoing, it is hereby ORDERED that Defendant's Motion to Seal (Docket No. 4) is DENIED.



    Comment


    Your Name




    Your Email




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        Maria on Sat Nov 05 2016 commented:
        Diego Mas Marques has harrassed me and threatened me in the last days. Very good that the appeal
        has been denied so others know that Diego is a criminal.



        Joshua I'll bat o'ov 26 2016 commented:
        Maria: The FBI will investigate this fake and harassing comment and you will be criminally charged
        with harassment, threats and defamation. You will be found with your IP address no matter from
        where you sent this made up comment.




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